
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit

                                 ____________________

        No. 95-1571

                       EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

                                Plaintiff - Appellant,

                                          v.

                            DONALD E. GREEN, LAW OFFICES,

                                Defendant - Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            John  F. Suhre,  Attorney, with  whom C. Gregory  Stewart, General
            ______________                        ___________________
        Counsel, Gwendolyn Young Reams, Associate General Counsel, and Vincent
                 _____________________                                 _______
        J. Blackwood, Assistant General Counsel, were on brief for appellant.
        ____________
            Nancy  S.  Shilepsky, with  whom  David  J.  Burgess  and Dwyer  &amp;
            ____________________              __________________      ________
        Collora, were on brief for appellee.
        _______


                                 ____________________

                                   February 9, 1996
                                 ____________________
                      STAHL, Circuit Judge.   On December 29, 1993, Ollie
                      STAHL, Circuit Judge.
                             _____________


















            Osinubi, a female paralegal  at the Law Offices of  Donald E.

            Green  ("Green"),  filed a  Title  VII  charge against  Green

            alleging  sexual  harassment   and  constructive   discharge.

            Osinubi  filed   her  charge   with   the  Equal   Employment

            Opportunity  Commission ("EEOC")  191  days  after  the  last

            alleged act of discrimination.  After investigating Osinubi's

            charge, the  EEOC brought  this action  against Green in  the

            United   States   District   Court   for  the   District   of

            Massachusetts  alleging  sexual   and  racial  harassment  in

            violation  of Title VII of  the Civil Rights  Act of 1964, 42

            U.S.C.   2000e et seq.   Green moved to dismiss the complaint
                           __ ___

            under Fed. R. Civ. P.  12(b)(6), arguing that Osinubi's claim

            was  untimely,   having  been   filed  outside   the  180-day

            limitations  period outlined  in section  706(e)(1) of  Title

            VII,  42 U.S.C.   2000e-5(e)(1).   The district court agreed,

            and  because  Green's  Motion  to  Dismiss presented  matters

            outside the pleadings, the  court treated it as a  motion for

            summary judgment and granted summary judgment for Green.  The

            EEOC appeals.  For the reasons discussed below, we reverse.  

                                          I.
                                          __

                                      BACKGROUND
                                      __________

            A.  Title VII
            _____________

                      Under section 706(e)(1), a charge of employment

            discrimination generally must be filed with the EEOC within

            180 days of the last alleged act of discrimination.  42



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            U.S.C.   2000e-5(e)(1).1   However, if a claimant initially

            institutes proceedings with a state or local agency, a charge

            can be filed with the EEOC up to 300 days after the

            discriminatory act.  Id.
                                 ___

                      Section 706(c) provides that where an alleged

            discriminatory employment practice has occurred in a so-

            called "deferral state" (a state that has its own anti-

            discrimination laws and enforcement agency), the deferral

            state has sixty days of exclusive jurisdiction over the

            claim, and only after the sixty days have expired or the

            proceedings have been "earlier terminated" can the charge be

            filed with the EEOC.  42 U.S.C.   2000e-5(c).2  The sixty-

                                
            ____________________

            1.  In relevant part, section 706(e)(1) reads:
              
                      A  charge  under  this  section  shall be
                      filed  [with the EEOC] within one hundred
                      and   eighty   days  after   the  alleged
                      unlawful employment practice occurred . .
                      . , except  that in a case of an unlawful
                      employment practice with respect to which
                      the   person   aggrieved  has   initially
                      instituted  proceedings  with a  State or
                      local agency  with authority to  grant or
                      seek  relief  from  such  practice  or to
                      institute   criminal   proceedings   with
                      respect  thereto  upon  receiving  notice
                      thereof, such charge shall be filed by or
                      on  behalf of the person aggrieved within
                      three  hundred  days  after  the  alleged
                      employment practice occurred . . . .

            42 U.S.C.   2000e-5(e)(1).   

            2.  In relevant part, section 706(c) reads:

                      In  the  case  of  an   alleged  unlawful
                      employment practice occurring in a State,

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            day period of exclusive jurisdiction is intended to "give

            States and localities an opportunity to combat discrimination

            free from premature federal intervention."  EEOC v.
                                                        ____

            Commercial Office Prods. Co., 486 U.S. 107, 110 (1988).  Many
            ____________________________

            state agencies, in order to facilitate the federal processing

            of charges, have entered into "worksharing agreements" with

            the EEOC in which the state agency agrees to waive its right

            to the sixty-day period of exclusive jurisdiction for certain

            categories of claims.

                      Massachusetts is a deferral state and the

            Massachusetts Commission Against Discrimination ("MCAD") is

            the agency responsible for enforcing Massachusetts's anti-

            discrimination laws.  The EEOC and the MCAD have entered into

            a Worksharing Agreement to avoid duplication of effort by

            apportioning the responsibilities for processing charges.  






                                
            ____________________

                      .  . .  which has  a State  or local  law
                      prohibiting   the   unlawful   employment
                      practice  alleged   and  establishing  or
                      authorizing a State or local authority to
                      grant or seek relief from such practice .
                      . .  no charge  may be filed  under [this
                      section] by the  person aggrieved  before
                      the  expiration  of   sixty  days   after
                      proceedings  have  been  commenced  under
                      State   or   local   law,   unless   such
                      proceedings have  been earlier terminated
                      . . . . 

            42 U.S.C.   2000e-5(c).

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            B.  Facts
            _________

                      In reviewing a motion for summary judgment, we

            recite the facts in the light most favorable to the non-

            moving party.  See Mesnick v. General Elec. Co., 950 F.2d
                           ___ _______    _________________

            816, 822 (1st Cir. 1991), cert. denied, 504 U.S. 985 (1992).
                                      _____ ______

                      Green hired Osinubi as a paralegal in October of

            1992.  Osinubi later left Green's employment allegedly

            because a work environment fraught with sexual harassment

            made work intolerable.  On December 29, 1993, Osinubi filed a

            charge of sexual harassment and constructive discharge with

            the EEOC.  Osinubi did not file a separate charge with the

            MCAD.

                      At the top of her EEOC charge form, in the space

            provided for naming the state or local agency, if any,

            Osinubi typed "Mass Comm Against Discrimination."  Osinubi

            failed, however, to mark a box in the lower left-hand corner

            that stated, "I want this charge filed with both the EEOC and

            the State or local Agency, if any."  Osinubi also indicated

            on the charge form that the latest date that discrimination

            took place was June 20, 1993, 191 days prior to her filing

            the charge.  After investigating the charge, the EEOC

            commenced this sexual harassment and race discrimination

            action in federal district court on December 7, 1994.

                      On February 8, 1995, Green moved to dismiss the

            complaint under Fed. R. Civ. P. 12(b)(6), contending that the



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            EEOC's claim was time-barred because of Osinubi's failure to

            file her charge within 180 days of the last alleged act of

            discrimination.  Green further maintained that the EEOC could

            not avail itself of the extended 300-day limitations period

            because the extension only applies to claimants who have

            first filed with the state agency and Osinubi's charge was

            never filed with the MCAD.  To support this factual

            proposition, Green attached to its motion the affidavit of

            Jane Brayton, executive assistant to the MCAD Commissioners,

            stating that her review of the MCAD computer files revealed

            no record of Osinubi's charge having been filed with the

            MCAD.

                      On March 6, 1995, the EEOC filed its Opposition to

            the Motion to Dismiss and attached the affidavit of Elizabeth

            Grossman, an EEOC trial attorney.3  In her affidavit,

            Grossman stated, inter alia, that the EEOC had forwarded a
                             _____ ____

            copy of Osinubi's charge to the MCAD on December 29, 1993. 

            Grossman supported this statement with a copy of the EEOC's

            charge transmittal form for Osinubi's charge, dated 12/29/93

            and addressed to the MCAD.  The form, however, was not signed

            by an officer of the MCAD indicating the MCAD's receipt.  

                                
            ____________________

            3.  Grossman  attached  to her  affidavit  the following  six
            exhibits:   a copy of Osinubi's charge,  her notes of a phone
            conversation   with  Green's  attorney,   the  EEOC's  charge
            transmittal form addressed to  the MCAD for Osinubi's charge,
            the  EEOC-MCAD Worksharing  Agreement,  letters from  Green's
            attorney to the  EEOC investigator, and the EEOC's  letter of
            determination. 

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                      On March 13, 1995, Green moved to strike the charge

            transmittal form and that portion of Grossman's Affidavit

            regarding the EEOC's forwarding of Osinubi's charge.  Green

            contended that the charge transmittal form was

            unauthenticated, did not prove filing with and receipt by the

            MCAD, and that Grossman has no personal knowledge of the

            EEOC's forwarding of Osinubi's charge to the MCAD.

                      On March 23, 1995, the EEOC filed its Opposition to

            the Motion to Strike.  The EEOC responded that Grossman could

            attest to routine EEOC procedures and thereby authenticate

            the charge transmittal form and that Osinubi's charge was

            constructively filed with the MCAD when the EEOC forwarded it

            to the MCAD on December 29, 1993.  In the alternative, the

            EEOC argued that even if the MCAD's receipt of Osinubi's

            charge was required to initiate MCAD proceedings, it could

            verify such receipt with the attached affidavit of Walter W.

            Horan, the EEOC Program Coordinator for the MCAD.  In his

            attached affidavit, Horan stated that he was the MCAD's

            custodian of records of EEOC charges forwarded to the MCAD

            and that MCAD records indicated that the MCAD received a copy

            of Osinubi's charge on January 6, 1994.  Horan attached to

            his affidavit a signed copy of the charge transmittal form

            acknowledging the MCAD's receipt of Osinubi's charge.  







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            C.  District Court Opinion
            __________________________

                      On March 29, 1995, the district court issued its

            opinion resolving the Motion to Dismiss and the Motion to

            Strike.  The court began its opinion by noting that because

            matters outside the pleadings were presented, it was

            converting Green's motion to dismiss for failure to state a

            claim to a motion for summary judgment.  The district court

            had not previously notified the parties of its intention to

            convert.  The court then explained that to qualify for the

            extended limitations period, Osinubi or the EEOC on Osinubi's

            behalf must have initially filed charges with the MCAD.  The

            court found, however, that neither Osinubi nor the EEOC had

            done so.  With respect to Osinubi, the court viewed her

            failure to check the box on the EEOC charge form as evincing

            a preference not to have her charge filed with the MCAD.

                      The EEOC, the court found, had also failed to file

            Osinubi's charge with the MCAD.  The court assumed arguendo
                                                               ________

            that Grossman's contested attestation that the EEOC had

            forwarded Osinubi's charge to the MCAD was admissible.  The

            court held, however, that merely forwarding the charge to the

            MCAD was not sufficient to initiate MCAD proceedings and

            thereby trigger the extended limitations period; proof that

            the MCAD actually received the forwarded charge also was

            necessary.  





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                      Despite Horan's verification of the MCAD's receipt

            of Osinubi's charge, the district court found that the EEOC

            had not contested Brayton's assertion that the MCAD had no

            record of receiving Osinubi's charge.  Accepting this

            "uncontested" fact as true, the court reasoned as follows: 

            because the MCAD never received a copy of Osinubi's charge, a

            precondition to invoking the 300-day extended limitations

            period had not been satisfied; thus, the general 180-day

            limitations period applied, and the EEOC's complaint was

            time-barred.  The district court made no mention of the Horan

            Affidavit and did not explain the reason for its failure to

            consider it.  

                        Finally, the district court dismissed the EEOC's

            argument that paragraph II.A. of the EEOC-MCAD Worksharing

            Agreement ("[the MCAD] designates [the EEOC] as its agent for

            the purpose of receiving charges") allows MCAD proceedings to

            be initiated upon the EEOC's receipt of a charge and without
                                  ______

            additional notice to the MCAD.  Citing Hamel v. Prudential
                                                   _____    __________

            Ins. Co., 640 F. Supp. 103, 107 (D. Mass. 1986), the court
            ________

            held that filing with the state agency is a precondition to

            invoking the extended limitations period and that to allow

            otherwise, e.g., by way of worksharing agreement, would be

            inconsistent with the scheme Congress established.







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                                         II.
                                         ___

                                      DISCUSSION
                                      __________

                      On appeal, the EEOC argues that the district court

            erred in granting summary judgment because:  (1) in paragraph

            II.A. of the EEOC-MCAD Worksharing Agreement, the MCAD

            designated the EEOC as its agent for receiving charges and

            therefore MCAD proceedings were initiated when the EEOC

            received Osinubi's charge, thereby qualifying Osinubi for the

            extended limitations period and (2) even if actual receipt by

            the MCAD was required to commence MCAD proceedings, the Horan

            Affidavit provided ample evidence that the MCAD received

            Osinubi's charge to contradict the Brayton Affidavit and

            create a genuine issue of material fact.  

                      Because we find the EEOC's second argument

            dispositive, we do not consider its first claim except to

            offer the following observation from our examination of the

            EEOC-MCAD Worksharing Agreement.  While Title VII4 and the

                                
            ____________________

            4.  Title  VII encourages  cooperation between  the EEOC  and
            state and local agencies  and authorizes the formalization of
            such  cooperative  efforts in  written  agreements.   Section
            705(g)(1)  empowers the  EEOC  "to cooperate  with and,  with
            their consent,  utilize  regional, State,  local,  and  other
            agencies."    42  U.S.C.    2000e-4(g)(1).    Section  709(b)
            provides that "[i]n furtherance of such cooperative  efforts,
            the Commission  may enter  into written agreements  with such
            State  or  local agencies."   42  U.S.C.    2000e-8(b).   The
            Supreme Court has interpreted these sections to "envision the
            establishment of  some sort of worksharing agreements between
            the  EEOC  and  state  and  local  agencies"  and  to  permit
            provisions within  these worksharing agreements  "designed to
            avoid unnecessary  duplication of  effort or waste  of time."
            EEOC  v.  Commercial Office  Prods.  Co., 486  U.S.  107, 122
            ____      ______________________________

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            case law of other circuits5 support the conclusion that

            worksharing agreements can permit state proceedings to be

            automatically initiated when the EEOC receives the charge, it

            is unclear from the language of the EEOC-MCAD Worksharing

            Agreement whether the EEOC and the MCAD intended MCAD

            proceedings to be initiated upon the EEOC's receipt.6

                                
            ____________________

            (1988).

            5.  See Griffin v. City  of Dallas, 26 F.3d 610,  612-13 (5th
                ___ _______    _______________
            Cir. 1994) (holding  that, under the  terms of a  worksharing
            agreement between  the EEOC and the Texas Commission on Human
            Rights ("TCHR"),  the EEOC's  acceptance of  a charge  as the
            TCHR's agent instituted state  proceedings within the meaning
            of section 706(e)(1)); Hong v. Children's Memorial Hosp., 936
                                   ____    _________________________
            F.2d  967, 970-71  (7th Cir.  1991) (holding  that "workshare
            agreement can alone effect both initiation and termination of
            state proceedings and that, as  a result, plaintiffs may file
            with the EEOC without first filing with the [state agency]");
            Sofferin v.  American Airlines, Inc., 923 F.2d  552, 559 (7th
            ________     _______________________
            Cir.  1991)  (holding  that "a  worksharing  agreement  could
            provide that a filing  with the EEOC simultaneously initiates
            and terminates state proceedings"); Petrelle v. Weirton Steel
                                                ________    _____________
            Corp.,  953 F.2d 148, 152 (4th  Cir. 1991) (conceding without
            _____
            deciding that  plaintiff "may  be correct in  arguing that  a
            work sharing agreement can  be crafted to authorize automatic
            implementation of the requirements of [the ADEA equivalent to
            section 706(e)(1)]").

            6.  The  EEOC  and  the MCAD  would  be  wise  to revise  the
            language  of  their Worksharing  Agreement  to clarify  their
            intent.   Rather  than explicitly  providing that  the EEOC's
            receipt  of  charges  on  the MCAD's  behalf  initiates  MCAD
            proceedings  for  purposes  of  section  706(e)(1), paragraph
            II.A.  states that  the EEOC  will be  the MCAD's  "agent for
            purposes  of receipt."   That  phrase, however,  supports two
            readings:  that the EEOC will act as the MCAD's mailbox, date
            stamping  and accepting mail on the MCAD's behalf or that the
            EEOC's receipt  of a charge also  initiates MCAD proceedings.
            The  EEOC  and the  MCAD  should  also address  the  apparent
            ambiguity arising from the Worksharing Agreement's failure to
            define terms such as "appropriate charges" in paragraph II.D.
            and  to  distinguish  the  "advance  waivers"  of   paragraph
            III.E.11. from the other waivers of paragraph III.E.1-10.

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                      After reciting the standard of review, we turn our

            attention to the EEOC's second argument.  We review a grant

            of summary judgment de novo and are guided by the same
                                __ ____

            criteria as the district court; a grant of summary judgment

            cannot stand on appeal "unless the record discloses no

            trialworthy issue of material fact and the moving party is

            entitled to judgment as a matter of law."  Alexis v.
                                                       ______

            McDonald's Restaurants of Mass., Inc., 67 F.3d 341, 346 (1st
            _____________________________________

            Cir. 1995).

                      Whether Osinubi's charge enjoys the extended

            limitations period and is thereby timely filed depends on

            whether the MCAD received a copy of Osinubi's charge.7  The

            parties have put this material fact in dispute by submitting

            two competing affidavits:   Brayton's assertion that the MCAD

            has no record of receiving Osinubi's charge and Horan's

            attestation to the MCAD's receipt of Osinubi's charge and

            charge transmittal form denoting the same.  Accordingly,

            because the record before the district court posed a genuine

            issue of material fact, summary judgment could have been

            granted for Green only if the district court acted within the

            sphere of its discretion in failing to consider the Horan

            Affidavit.  

                                
            ____________________

            7.  Because the  EEOC does  not contest the  district court's
            ruling that forwarding a charge to the MCAD is not sufficient
            to  initiate MCAD  proceedings,  we need  not decide  whether
            anything less  than the  MCAD's receipt, such  as the  EEOC's
            mere forwarding, initiates MCAD proceedings.

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                      Ordinarily, the district court has broad authority

            to prescribe the evidentiary materials it will consider in

            deciding a motion for summary judgment.  See United States v.
                                                     ___ _____________

            Parcels of Land, 903 F.2d 36, 45-46 (1st Cir. 1990).  We are
            _______________

            reluctant to second-guess the district court in this area and

            review such decisions only for a clear abuse of discretion. 

            See id. at 45. Nonetheless, we conclude that on the very
            ___ ___

            unusual circumstances of this case, the district court

            overstepped its authority and abused its discretion in

            failing to consider the Horan Affidavit.

                      The unusual circumstances that motivate this

            decision include:  (1) the district court's failure to notify

            the parties of its intention to convert Green's Motion to

            Dismiss into a motion for summary judgment, (2) the EEOC's

            attachment of the Horan Affidavit to a filing that was

            directly related to the Motion to Dismiss, and (3) the

            prejudice to the EEOC from the court's failure to give notice

            of its intention to convert.  We discuss each in turn.

                      Fed. R. Civ. P. 12(b) has been interpreted to

            require the district court to expressly notify the parties of

            its intention to convert.  See Chaparro-Febus v.
                                       ___ ______________

            International Longshoremen Ass'n, Local 1575, 983 F.2d 325,
            ____________________________________________

            332 (1st Cir. 1992).  In an effort to be pragmatic, this

            court has excused such a failure when it is harmless.  Id.
                                                                   ___

            (holding the failure harmless "when the opponent has received



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            the affidavit and materials, has had an opportunity to

            respond to them, and has not controverted their accuracy"). 

            We decline to excuse the district court in the instant case,

            however, as we find that its failure to notify the EEOC and

            Green of its decision to convert the Motion to Dismiss to one

            for summary judgment prejudiced the EEOC because the district

            court failed to consider the Horan Affidavit.    

                      Although the district court never explained its

            failure to consider the Horan Affidavit in its summary

            judgment order or referred to the Horan Affidavit in any way,

            we presume that once it denied the Motion to Strike, the

            court saw no need to consider the EEOC's Opposition to the

            Motion to Strike and accordingly overlooked the Horan

            Affidavit referred to therein and attached thereto.  The

            Opposition to the Motion to Strike, however, was directly

            related to the Motion to Dismiss; the district court had to

            resolve the Motion to Strike in order to determine which

            affidavits were properly before it on summary judgment.  As

            such, the Opposition to the Motion to Strike was a filing to

            which a party reasonably might attach evidentiary materials

            opposing the Motion to Dismiss.8  Having failed to notify

                                
            ____________________

            8.  In  its  Opposition to  the  Motion to  Strike,  the EEOC
            argued that should the  court grant the Motion to  Strike the
            Grossman  Affidavit, it  should consider  the  attached Horan
            Affidavit  in its place.  While it would have been preferable
            for  the EEOC  to  have attached  the  Horan Affidavit  to  a
            separate  motion   requesting  the  court   to  consider  the
            affidavit as newly submitted evidence, the Horan Affidavit is

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                                          15















            the parties of its intention to convert, the district court

            at a minimum should have considered a filing like the Horan

            Affidavit that had reasonably been attached to an opposition

            that was directly related to the Motion to Dismiss.9  

                      Had the district court followed the prescribed

            approach of Rule 12(b) and notified the parties of its intent

            to convert, the EEOC would almost certainly have had the

            opportunity to ensure that the district court consider the

            Horan Affidavit.  When a court informs the parties of its

            intention to convert, ordinarily it provides the parties with

            a minimum of ten days, pursuant to Fed. R. Civ. P. 56(c), in

            which to augment previous filings.  Had the district court so

            notified the parties in the instant case, the EEOC could have

            resubmitted the Horan Affidavit, attached to an opposition to

            the converted motion for summary judgment, and thereby

            guaranteed its consideration.10  Similarly, had the

            district court specified which submissions it would consider


                                
            ____________________

            sufficiently  related  to  the  Motion to  Strike,  that  its
            attachment  to  the Opposition  to  the Motion  to  Strike is
            reasonable.  

            9.  In  so holding, we do  not require the  district court to
            scour ancillary  filings for hidden  and potentially relevant
            affidavits.   A  court need  only refer  to those  filings in
            which a  party reasonably might include  materials in support
            of or in opposition to the motion to dismiss.

            10.  Local  Rule  56.1  of  the  District   of  Massachusetts
            requires a  district court to consider  evidentiary materials
            filed as exhibits to the opposition to the motion for summary
            judgment.  

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            in making its summary judgment decision, the EEOC could have

            filed the Horan Affidavit in compliance therewith.  

                      As it turned out, however, the district court's

            failure to notify the parties of its intention to convert

            left the parties in the dark.  Under this unique set of

            circumstances, where the district court's failure to notify

            the parties of its intention to convert was prejudicial and

            the Horan Affidavit was attached to a filing directly related

            to the Motion to Dismiss, the district court's failure to

            consider the Horan Affidavit was an abuse of discretion.  

                                         III.
                                         ____

                                      CONCLUSION
                                      __________

                      Because we find that the Horan and Brayton

            Affidavits presented the district court with a genuine issue

            of material fact, we vacate the district court's order
                                 ______

            granting summary judgment for Green and remand for further
                                                    ______

            proceedings consistent with this opinion.



















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